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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


    JASON KERZNOWSKI, Individually and on Case No. 2:18-cv-13834
    Behalf of All Others Similarly Situated,

                                 Plaintiff,

    v.

     OPKO HEALTH, INC., PHILLIP FROST,
     ADAM LOGAL, AND JUAN F.
     RODRIGUEZ,                                        Hon. Stanley R. Chesler
                                 Defendants.           Magistrate Judge Cathy L. Waldor


                  MEMORANDUM IN SUPPORT OF THE MOTION OF
                THE OPKO INVESTOR GROUP FOR APPOINTMENT AS
            LEAD PLAINTIFF AND APPROVAL OF SELECTION OF COUNSEL




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                                   PRELIMINARY STATEMENT

          Richard Cardilli, Anthony T. DeRosa, Tawei Ho, Charles Saulson, and Connie Wendt (the

   “OPKO Investor Group” or “Movant”) submit this memorandum in support of their motion for:

   (1) appointment as Lead Plaintiff pursuant to Section 21D(a)(3)(B) of the Securities Exchange Act

   of 1934 (“Exchange Act”), 15 U.S.C. §78u-4(a)(3)(B), as amended by Section 101(b) of the

   Private Securities Litigation Reform Act of 1995 (“PSLRA”); (2) approval of their selection of

   Levi & Korsinsky, LLP (“Levi & Korsinsky”) and Bragar Eagel & Squire, P.C. (“Bragar”), as Co-

   Lead Counsel for the Class; and (3) the granting of such other and further relief as the Court may

   deem just and proper.

          As described in the loss charts, attached as Exhibit B to the Declaration of Eduard

   Korsinsky in Support of the Motion of the OPKO Investor Group for Appointment as Lead

   Plaintiff and Approval of Selection of Counsel (“Korsinsky Decl.” or “Korsinsky Declaration”),

   the OPKO Investor Group collectively lost over $709,000 as a result of its members’ purchases

   of OPKO Health, Inc. (“OPKO” or “Company”) securities between September 26, 2013 through

   September 7, 2018, inclusive (“Class Period”). Movant submits that, to the best of its

   knowledge, it has the largest loss of any other movant seeking to be appointed lead plaintiff.

          In addition to demonstrating the largest financial interest in the outcome of this litigation,

   the Certifications submitted by Movant’s members evidence their intent to serve as Lead Plaintiff

   in this litigation, as they have acknowledged that they understand the duties they are undertaking.

   The Certification serves as affirmative evidence that Movant satisfies the requirements of Rule 23

   of the Federal Rules of Civil Procedure (“Rule 23”) (15 U.S.C. §78u-4(a)(3)(B)(iii)(cc)). The

   members of the OPKO Investor Group fully understand the duties and responsibilities that being

   lead plaintiff entails, and have confirmed that they are ready, willing, and able to oversee the



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   vigorous prosecution of these Actions. See Korsinsky Decl., Ex. A. Movant satisfies both of the

   applicable requirements of the PSLRA and Rule 23, and is presumptively the “most adequate

   plaintiff” – a presumption that cannot be rebutted here.

                                  PROCEDURAL BACKGROUND

          This Action was filed in this Court on September 12, 20181. Also on September 12, 2018,

   and pursuant to 15 U.S.C. §78u-4(a)(3)(A)(i), a notice was published on Business Wire informing

   investors that a class action had been initiated against defendants and advising members of the

   proposed Class of their right to move the Court to serve as Lead Plaintiff no later than 60 days

   from the notice (November 13, 2018). See Korsinsky Decl., Ex. C (“Press Release”). The members

   of the OPKO Investor Group are class members and have timely moved for appointment as Lead

   Plaintiff under the PSLRA within the required 60-day timeframe.2 See Korsinsky Decl., Ex. A

   (PSLRA certification attesting to purchases of OPKO securities).

                                      STATEMENT OF FACTS3

          OPKO, a healthcare company, engages in the diagnostics and pharmaceuticals business in

   the United States and internationally. ¶7.



   1
      In addition to the Action, four other actions have been filed in two other courts making similar
   allegations against the Company. Adsport, Inc. v. Opko Health, Inc., et al., Case No. 1:18-cv-8456,
   was filed on September 17, 2018 in the Southern District of New York (the “Adsport Action”).
   The following three cases were filed in the Southern District of Florida: Steinberg v. Opko Health,
   Inc., et al., Case No. 1:18-cv-23786, filed September 14, 2018 (the “Steinberg Action”); Brennan
   v. Opko Health, Inc., et al., Case No. 1:18-cv-23924, filed September 21, 2018 (the “Brennan
   Action”); and Camhi v. Opko Health, Inc., et al., Case No. 1:18-cv-24137, filed October 8, 2018
   (the “Camhi Action”).
   2
     The PSLRA authorizes any member or members of the putative Class seeking to be appointed
   Lead Plaintiff to either file a complaint or move for appointment as Lead Plaintiff. See 15 U.S.C.
   §78u-4(a)(3)(B)(iii). Movants’ Certifications are attached as Exhibit A to the Korsinsky
   Declaration.
   3
     Citations to “¶ __” are to paragraphs of the Class Action Complaint (the “Complaint”) filed in
   this Action on September 12, 2018. Unless otherwise defined, capitalized terms shall have the

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          Throughout the Class Period, Defendants issued materially false and/or misleading

   statements that misrepresented and/or failed to disclose the following adverse facts pertaining to

   the Company’s business and operations which were known to Defendants or recklessly

   disregarded by them. Specifically, Defendants made false and/or misleading statements and/or

   failed to disclose that: (1) Defendant Frost and OPKO were engaged in a pump-and-dump scheme

   with several other individuals and companies in their investments in several penny stocks; (2) this

   illicit scheme would result in governmental scrutiny including from the SEC; and (3) as a result,

   Defendants’ statements about OPKO’s business, operations and prospects were materially false

   and misleading and/or lacked a reasonable basis at all relevant times. ¶24.

          On September 7, 2018, the SEC issued a press release entitled “SEC Charges Microcap

   Fraudsters for Roles in Lucrative Market Manipulation Schemes” which included Frost and OPKO

   as defendants. ¶25. The press release stated, in relevant part, that it “charged a group of 10

   individuals and 10 associated entities for their participation in long-running fraudulent schemes

   that generated over $27 million from unlawful stock sales” and that “Miami biotech billionaire

   Phillip Frost allegedly participated in two of these three schemes.” Id.

          On this news, shares of OPKO fell $1.01 or over 18%, before NASDAQ halted the trading

   of OPKO on September 7, 2018 at 2:34 p.m. EDT at $4.58, making the Company’s stock illiquid

   and virtually worthless. ¶26.

          As a result of Defendants’ wrongful acts and omissions, and the precipitous decline in the

   market value of the Company’s common shares, Plaintiff and other Class members have suffered

   significant losses and damages.




   same meaning set forth in the Complaint. The facts set forth in the Complaint are incorporated
   herein by reference.

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                                                  ARGUMENT

  I.          MOVANT SHOULD BE APPOINTED LEAD PLAINTIFF

              A.      The Procedural Requirements Pursuant to the PSLRA

              The PSLRA sets forth a detailed procedure for the selection of a lead plaintiff to oversee

       securities class actions. See 15 U.S.C. §78u-4(a)(3). First, the plaintiff who files the initial action

       must, within 20 days of filing the action, publish a notice to the class informing class members of

       their right to file a motion for appointment as lead plaintiff. 15 U.S.C. §78u-4(a)(3)(A)(i). Plaintiff

       in the Kerznowski Action, which was filed on September 12, 2018, published a notice on Business

       Wire on the same day. Korsinsky Decl., Ex. C. This notice announced that applications for

       appointment as lead plaintiff had to be made by November 13, 2018. As the PSLRA notes, any

       member or members of the proposed Class may apply to the Court to be appointed as lead plaintiff,

       whether or not they have previously filed a complaint. 15 U.S.C. §78u-4(a)(3)(A) and (B).

              Next, according to the PSLRA, within 90 days after publication of the initial notice of

       pendency of the action, the Court shall appoint as lead plaintiff the movant or movants that the

       Court determines to be most capable of adequately representing the interests of Class members.

       See 15 U.S.C. §78u-4(a)(3)(B)(i). The PSLRA instructs that:

              [T]he court shall adopt a presumption that the most adequate plaintiff in any private
              action arising under this title is the person or group of persons that:

              (aa) has either filed the complaint or made a motion in response to a notice...

              (bb) in the determination of the court, has the largest financial interest in the relief
              sought by the class; and

              (cc) otherwise satisfies the requirements of Rule 23 of the Federal Rules of Civil
              Procedure [pertaining to class actions].

       15 U.S.C. §78u-4(a)(3)(B)(iii).




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           B.      Movant is “The Most Adequate Plaintiff”

                   1.       Movant Has Complied With the PSLRA and Should Be Appointed as
                            Lead Plaintiff

           Movant has timely filed the instant Motion to be appointed Lead Plaintiff. Moreover,

   Movant has the largest known financial interest in the relief sought by the Class. Further Movant’s

   Members has shown their willingness to represent the Class by signing a sworn Certification

   detailing their investments in the Company’s securities during the Class Period and confirming

   their willingness to discharge the obligations of class representatives in this Action. See Korsinsky

   Decl., Ex. A.        Furthermore, the OPKO Investor Group is a small and cohesive group of

   sophisticated investors who are committed to working together in the prosecution of this action

   and have demonstrated their ability to do so in the Joint Declaration that Movant has submitted.

   See Korsinsky Decl., Ex. F. See Brady v. Top Ships, Inc., 324 F. Supp. 3d 335, 347 (E.D.N.Y.

   July 20, 2018) (joint declaration evidenced ability of a group of investors to “cohesively manage

   the litigation”).

           In addition, Movant has selected and retained highly competent counsel with significant

   experience in class action and securities litigation to represent the Class. The firm résumés of

   proposed Co-Lead Counsel, Levi & Korsinsky and Bragar, are attached as Exhibit D and E to the

   Korsinsky Declaration.

                   2.       Movant Has the Largest Financial Interest

           According to 15 U.S.C. §78u-4(a)(3)(B)(iii), the Court shall appoint as Lead Plaintiff

   the person or group of persons who have the largest financial interest in the relief sought by

   the action. See In re Cendant Corp. Litig., 264 F.3d 201, 222 (3d Cir. 2001) (“the most adequate

   plaintiff is the movant that has the largest financial interest in the relief sought by the class….”)

   (internal citations omitted). As demonstrated by Exhibit B to the Korsinsky Declaration,


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   Movant has sustained losses of approximately $709,000. 4 Upon information and belief no

   competing movant has larger losses. Therefore, Movant satisfies the PSLRA’s prerequisite of

   having “the largest financial interest in the relief sought by the class.” 15 U.S.C. §78u-

   4(a)(3)(B)(iii)(I)(cc).

                  3.         Movant Satisfies the Requirements of Rule 23

          In addition to possessing the largest financial interest, a lead plaintiff must also “otherwise

   satis[fy] the requirements of Rule 23 of the Federal Rules of Civil Procedure.” 15 U.S.C. §78u-

   4(a)(3)(B)(iii)(I)(cc). Of the four prerequisites to class certification outlined in Fed. R. Civ. P. 23,

   only two—typicality and adequacy—are recognized as appropriate for consideration at this stage.

   Consequently, in deciding a motion to serve as lead plaintiff, the court should limit its inquiry to

   the typicality and adequacy prongs of Rule 23(a), and defer examination of the remaining

   requirements until the eventual lead plaintiff moves for class certification. See In re Nice Sys. Sec.

   Litig., 188 F.R.D. 206, 217 (D.N.J. 1999). As detailed below, Movant satisfies the typicality and

   adequacy requirements of Rule 23(a).

                             a.    Movant Satisfies the Typicality Requirement

          The typicality requirement of Rule 23(a)(3) is satisfied when the representative plaintiff’s

   claims arise from the same event or course of conduct that gives rise to the claims of other class

   members and when the claims are based on the same legal theory. See Nice Sys., 188 F.R.D. at



   4
     Pursuant to the PSLRA, damages in securities class actions are capped at the difference between
   the purchase price and the larger of the sale price or the mean closing price for the trading days
   between the corrective disclosure and the date of sale. See In re Cendant Corp. Sec. Litig., 109 F.
   Supp. 2d 235, 261 n.10 (D.N.J. 2000) (citing 15 U.S.C. § 78u-4(e)(1)-(2)). Accordingly, Tawei
   Ho would have a higher loss using his actual sales price based than the average trading price from
   the end of the class period to the price he sold at on September 14, 2018, but in compliance with
   the statutory provisions of the PSLRA, his loss chart utilizes the higher average trading price. See
   Korsinsky Decl., Ex. B. (utilizing mean closing price from the date of disclosure to the date of
   sale).

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    218. The threshold typicality requirement is not high: Rule 23(a) requires only that resolution of

    the common questions affect all, or a substantial number of, class members. Id.5

           Here, the OPKO Investor Group meets the typicality requirement because, like all other

    members of the purported class, its members purchased the Company’s securities during the Class

    Period in reliance upon Defendants’ false and misleading statements and suffered damages

    thereby. Typicality is satisfied because Movant’s claims are not “markedly different” from the

    claims of the class, but rather are premised on the same legal and remedial theories stemming

    from the same alleged misrepresentations and omissions. Sklar v. Amarin Corp. PLC, 2014 U.S.

    Dist. LEXIS 103051, at *21 (D.N.J. July 29, 2014) (typicality satisfied where “claim arises from

    the same conduct from which the other class members’ claims and injuries arise”).

                           b.      Movant Satisfies the Adequacy Requirement

           The adequacy requirement is met if no conflicts exist between the interests of the

    representatives and the interests of the class and when the representatives’ attorneys are qualified,

    experienced, and generally able to conduct the litigation. See Nice Sys., 188 F.R.D. at 219. Here,

    Movant is not subject to any unique defenses, has retained experienced counsel in the matter, and

    has suffered a significant financial loss which forecloses any conflicts between Movant and the

    other members of the class. See Chao Sun v. Han, 2015 U.S. Dist. LEXIS 64060, at *8 (D.N.J.

    May 14, 2015) (adequacy satisfied where the movant retains “counsel with the resources,

    experience and expertise to efficiently and effectively prosecute this action, and [where]

    significant financial losses demonstrate that [movant] has sufficient incentive to ensure vigorous

    advocacy”).



    5
      Although not relevant to this motion, a finding of typicality frequently supports a finding of
    commonality. See Gen. Tel. Co. of the Southwest v. Falcon, 457 U.S. 147, 158 n.13 (1982) (noting
    that the typicality and commonality requirements tend to merge).

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               Accordingly, Movant satisfies the required prima facie showing of the typicality and

        adequacy requirements of Rule 23 for purposes of this Motion.

  II.          THE COURT SHOULD APPROVE MOVANT’S CHOICE OF COUNSEL

               The PSLRA vests authority in the lead plaintiff to select and retain counsel to represent

        the Class, subject to the Court’s approval. 15 U.S.C. §78u-4(a)(3)(B)(v). Movant has selected

        Levi & Korsinsky and Bragar to serve as Co-Lead Counsel. Levi & Korsinsky and Bragar are

        nationally recognized class action and securities law firms with the necessary resources, expertise,

        and vigor to vehemently prosecute the alleged claims on behalf of the Class. See Korsinsky Decl.,

        Ex. D-E (Firm Résumés). This Court may be assured that in the event that Movant’s motion is

        granted, the members of the Class will receive the highest caliber of legal representation.

                                                 CONCLUSION

               For all of the foregoing reasons, Movant respectfully request that this Court enter an order:

        (1) appointing Movant to serve as Lead Plaintiff; (2) approving Movant’s selection of Lead

        Counsel for the Class; and (3) granting such other and further relief as the Court may deem just

        and proper.

         Dated: November 13, 2018                        Respectfully Submitted,

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                                         Counsel for the Class




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                                     CERTIFICATE OF SERVICE

           I hereby certify that on November 13, 2018, I caused the foregoing Memorandum of Law

    to be served electronically on all ECF participants.

                                                            /s/ Eduard Korsinsky
                                                            Eduard Korsinsky




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